Case 19-61608-grs           Doc 947      Filed 12/15/20 Entered 12/15/20 16:24:37                      Desc Main
                                        Document      Page 1 of 18



                             UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF KENTUCKY
                                     LONDON DIVISION


In Re:                                                    )                Case No. 19-61608
                                                          )
Americore Holdings, LLC, et al. 1                         )                Jointly Administered
                                                          )
                          Debtors.                        )                Chapter 11
                                                          )

     CHAPTER 11 TRUSTEE’S EMERGENCY MOTION TO ENFORCE SALE ORDER

         Carol L. Fox, the Chapter 11 Trustee (“Trustee”) of Americore Holdings, LLC, and its

affiliated debtors (collectively, the “Debtors”), files this emergency motion (“Motion”) to enforce

this Court’s Order (A) Approving Sale Free and Clear of All Liens, Claims, Interests, and

Encumbrances, (B) Authorizing Assumption and Assignment of Certain Executory Contracts and

Unexpired Leases, and (C) Granting Related Relief (Doc. No. 929) (the “November 11 Sale

Order”), which approved the Modified Asset Purchase Agreement attached thereto (the “APA”),

against the Court-approved buyer, SA Hospital Acquisition, LLC (“SA Acquisition”), and states

as follows in support:

                                              INTRODUCTION

         1.      SA Acquisition was chosen as the party making the “highest and best” offer for

substantially all of the assets of St. Alexius Properties, LLC, St. Alexius Hospital Corporation #1,

and Success Healthcare 2, LLC (collectively, the “St. Alexius Debtors”) based on its financial

ability to close the proposed sale and the absence of a financing contingency in the APA.



1
  The Debtors in these Chapter 11 cases are (with the last four digits of their federal tax identification numbers in
parentheses): Americore Holdings, LLC (0115); Americore Health, LLC (6554); Americore Health Enterprises, LLC
(3887); Ellwood Medical Center, LLC (1900); Ellwood Medical Center Real Estate, LLC (8799); Ellwood Medical
Center Operations, LLC (5283); Pineville Medical Center, LLC (9435); Izard County Medical Center, LLC(3388);
Success Healthcare 2, LLC (8861); St. Alexius Properties, LLC (4610); and St. Alexius Hospital Corporation #1
(2766).

                                                         1
Case 19-61608-grs         Doc 947    Filed 12/15/20 Entered 12/15/20 16:24:37            Desc Main
                                    Document      Page 2 of 18



Ultimately, the Court approved the Trustee’s proposed sale to SA Acquisition in July 2020 and

entered the November 11 Sale Order requiring the parties to comply with the APA. The APA

requires SA Acquisition to close on the purchase “within five (5) business days following the entry

of an order of the Bankruptcy Court approving the Sale” unless the Trustee agreed to postpone the

closing. (APA, § 1.3). The Sale Order was entered on November 11, 2020, and thus required SA

Acquisition to close by November 18, 2020.

         2.        Despite the lack of a financing contingency in the APA, SA Acquisition delayed

closing multiple times while it attempted to obtain financing to pay the purchase price. In an effort

to work cooperatively with the buyer and reach a consensual resolution, the Trustee agreed to

multiple extensions of the closing date.

         3.        Recently, however, SA Acquisition has refused to close and has attempted to

renegotiate the APA on the basis that U.S. Department of Health and Human Services (“HHS”)

issued additional guidance regarding what expenditures of CARES Act funds would qualify for

forgiveness, and the new guidance makes it more likely that SA Acquisition will owe money back

to the bankruptcy estates of the St. Alexius Debtors (collectively the “St. Alexius Bankruptcy

Estates”) under the APA’s indemnification provision. Specifically, HHS’s guidance indicates that

while some expenditures can be immediately expensed in full and qualify for forgiveness, others

must be expensed in accordance with an applicable depreciation schedule (that is, expensed over

time) and are not fully forgiven. SA Acquisition asserts that this new guidance increases the

likelihood of triggering its indemnification obligation under the APA, and thus allows SA

Acquisition to refuse to close unless the Trustee renegotiates the APA on terms more favorable to

SA Acquisition.




                                                  2
4829-4793-6212.2
Case 19-61608-grs             Doc 947      Filed 12/15/20 Entered 12/15/20 16:24:37       Desc Main
                                          Document      Page 3 of 18



           4.       Before this dispute, SA Acquisition admitted that it was indemnifying the St.

Alexius Bankruptcy Estates for pre-closing expenditures SA Acquisition approved that were

ultimately not deemed forgivable: “we are also taking the indemnity risk that if the Cares act

reporting… ends up with an item being denied and money is owed back, we are paying it. We are

driving the process on the list so we are responsible…Just confirming in writing.” See Email from

Ben Klein on behalf of SA Acquisition to the Trustee dated October 21, 2020, attached as Exhibit

A. Now, however, SA Acquisition claims that it “never agreed to indemnify the Seller as to

whether the calculations related to the expense were appropriate and/or consistent with the

guidelines of the CARES Act.” See Letter from Troy Schell dated December 8, 2020, attached as

Exhibit B.

           5.       SA Acquisition’s failure to close is a clear breach of the APA. SA Acquisition’s

position is not supported by the plain language of the APA, the pleadings filed in this case, or the

timing of the constantly evolving HHS guidance on the CARES Act. It has become clear to the

Trustee that forward progress has stalled, and SA Acquisition is unwilling to close on the purchase

under the APA unless the deal is renegotiated on terms more favorable to SA Acquisition.

           6.       SA Acquisition’s breach of the APA is inflicting significant damages on the St.

Alexius Bankruptcy Estates on a daily basis and must stop. Accordingly, the Trustee seeks this

Court’s intervention to force SA Acquisition to comply with the Sale Order and APA and to award

damages caused by SA Acquisition’s breach.

                                                 BACKGROUND

           7.       On December 31, 2019 (the “Petition Date”), each of the Debtors filed a voluntary

petition with this Court for relief under chapter 11 of the Bankruptcy Code. 2



2
    All references to the “Bankruptcy Code” refer to 11 U.S.C. §§ 101 et seq.

                                                           3
4829-4793-6212.2
Case 19-61608-grs          Doc 947    Filed 12/15/20 Entered 12/15/20 16:24:37           Desc Main
                                     Document      Page 4 of 18



         8.        On February 4, 2020, the Court entered an agreed order for the appointment of a

Chapter 11 trustee and directing the United States Trustee (“UST”) to immediately appoint a

Chapter 11 trustee in the Debtors’ jointly administered cases (Doc. No. 258). On February 21,

2020, the UST filed its Notice of Appointment of Ms. Carol Fox as Chapter 11 Trustee (Doc. No.

260), and on February 24, 2020, Ms. Fox filed her Notice of Acceptance of the appointment as

trustee (Doc. No. 269).

         9.        On April 24, 2020, the Trustee filed a Motion for Entry of Order: (I) Approving

Bidding Procedures in Connection with the Sale of Substantially all of the Debtors’ Assets (St.

Alexius), (II) Establishing Procedures for the Assumption and/or Assignment by the Trustee of

Certain Executory Contracts and Unexpired Leases, (III) Approving the Form and Manner of

Notice of Bidding Procedures, (IV) Setting Objection Deadlines, and (V) Granting Related Relief

(Doc. No. 482) (the “Bid Procedures Motion”). The Trustee’s bidding procedures were designed

to maximize the value for the St. Alexius Bankruptcy Estates and ensure an orderly sale process,

and included procedures related to due diligence, qualified bids, an auction, and the selection of a

winning bidder.

         10.       On May 5, 2020, the Court conducted a hearing on the Bid Procedures Motion and

granted it via an order entered on May 12, 2020 (Doc. No. 541). As permitted by the bidding

procedures, the Trustee subsequently modified the procedures as set forth in the Trustee’s Notice

of Modified Bid Procedures (Doc. Nos. 697).

         11.       On July 10, 2020, the Trustee filed her Motion to Approve Designation of Stalking

Horse Bidder (St. Alexius) and Break-Up Fee in Accordance with Approved Bid Procedures and

Sale Motion (Doc. No. 737) (“Stalking Horse Motion”). The Stalking Horse Motion sought to

approve SA Acquisition as the stalking horse bidder under the approved bid procedures and



                                                   4
4829-4793-6212.2
Case 19-61608-grs          Doc 947       Filed 12/15/20 Entered 12/15/20 16:24:37                     Desc Main
                                        Document      Page 5 of 18



authorize certain bid protections in favor of SA Acquisition in connection with the sale procedures.

The Court granted the Stalking Horse Motion pursuant to an order dated July 16, 2020 (Doc. No.

764).

         12.       On July 13, 2020, the Trustee filed the Amended Motion for an Order (A)

Authorizing the Sale of Substantially All of the Debtors’ Assets (St. Alexius) in Accordance with

Approved Bid Procedures, as Modified; (B) Authorizing Assumption and Assignment of Executory

Contracts and Unexpired Leases in Accordance with the Bid Procedures; and (C) Granting

Related Relief and Request for Hearing on July 29, 2020 at 9:00 A.M. EST under section 363(f)

(Doc. No. 744) (the “Sale Motion”), seeking approval of the sale of substantially all the assets of

St. Alexius Debtors.

         13.       Following the submission of additional bids, the Trustee determined that SA

Acquisition was the only party that submitted a qualified bid in accordance with bid procedures

previously approved by the Court.

         14.       On July 29, 2020, the Court conducted an evidentiary hearing on the Sale Motion,

and on July 30, 2020, the Court ruled from the bench and approved the Trustee’s Sale Motion.

         15.       Throughout the summer and fall of 2020, HHS has issued guidance on the use of

CARES Act Provider Relief Funds (“PRF”) and modified that guidance. For example, HHS PRF

general information has been issued or modified on July 8, July 10, July 22, July 23, July 30,

August 4, August 10, September 3, October 5, October 28, November 5, November 18, December

4, and December 11. 3

         16.       On October 28, 2020, the HHS guidance on use of PRF funds included the

following question and answer clarifying that capital equipment (generally having a lifespan of


3
  See https://www.hhs.gov/coronavirus/cares-act-provider-relief-fund/faqs/provider-relief-fund-general-
info/index.html#use-of-funds

                                                         5
4829-4793-6212.2
Case 19-61608-grs          Doc 947    Filed 12/15/20 Entered 12/15/20 16:24:37            Desc Main
                                     Document      Page 6 of 18



more than one year) must be depreciated, while non-capital equipment (generally have a lifespan

of less than one year) may be fully expensed immediately:

                   Do providers report total purchase price of capital equipment or only the
                   depreciated value? (Added 10/28/20).
                   Providers who use accrual or cash basis accounting may report the relevant
                   depreciation amount based on the equipment useful life, purchase price and
                   depreciation methodology otherwise applied.
                   Providers may report an expense of items purchased with a useful life of 12 months
                   or less if in accordance with existing accounting policies.

         17.       On October 29, 2020, the Trustee filed Chapter 11 Trustee’s Motion to Approve

Modified Asset Purchase Agreement and Enter Sale Order (Doc. No. 913) (the “Motion to Modify

APA”). As set forth in the motion, the primary purpose of the requested modification was to

address the new and changing guidance from the HHS on the accounting treatment and forgiveness

of funds provided to St. Alexius pursuant to the PRF created by the CARES Act. Due to the HHS’s

changing guidance, St. Alexius had approximately $10 to $12.5 million of unspent PRF funds that

would be required to be returned to the federal government if not spent on qualifying expenses.

         18.       Prior to reaching the modification with SA Acquisition outlined in the Motion to

Modify APA, the Trustee was considering returning those unused funds to the federal government.

         19.       However, after negotiating with SA Acquisition, the Trustee reached an agreement

whereby the St. Alexius Bankruptcy Estates would spend the unused PRF funds on buyer-

approved expenditures that were likely to be forgiven by the federal government as coronavirus-

related expenses. In exchange, SA Acquisition would indemnify the St. Alexius Bankruptcy

Estates for any buyer-approved expenditures that were not ultimately forgiven and for which the

St. Alexius Bankruptcy Estates owed back to the federal government. Thereafter, the Trustee and

SA Acquisition worked together to identify needed expenditures that qualified for use under the

CARES Act totaling between $10 million to $12.5 million.



                                                   6
4829-4793-6212.2
Case 19-61608-grs          Doc 947      Filed 12/15/20 Entered 12/15/20 16:24:37                     Desc Main
                                       Document      Page 7 of 18



         20.       The ultimate result of the modification was that SA Acquisition could approve the

Trustee’s use of an additional $10 to $12.5 million in unused PRF funds, and if those expenditures

were on qualifying coronavirus-related expenses, such amounts would be forgiven.

         21.       Using the PRF funds for the newly identified expenditures was net neutral to the

St. Alexius Bankruptcy Estates because the funds could only be used as provided by HHS or

returned to the federal government. In 2021, PRF participants must report their PRF expenditures

and are required to pay back any amounts that were not used for the two approved purposes (that

is, lost revenue and healthcare related expenses attributable to coronavirus). Accordingly, the APA

was modified to require SA Acquisition to indemnify the St. Alexius Debtors for any claim

asserted by HHS that any of the expenditures do not qualify as a healthcare related expense

attributable to coronavirus. 4

         22.       On November 11, 2020, the Court entered the Order (A) Approving Sale Free and

Clear of All Liens, Claims, Interests, and Encumbrances, (B) Authorizing Assumption and

Assignment of Certain Executory Contracts and Unexpired Leases, and (C) Granting Related

Relief (Doc. No. 929) (the “November 11 Sale Order”), which approved the sale and the APA

which included the indemnification.

         23.       The Sale Order approved the sale and the terms and conditions APA, and directed

the Trustee and SA Acquisition to close the transaction in accordance with the APA:

                   Upon entry of this Order, Seller and Purchaser shall have the obligation to
                   consummate the Closing pursuant to and subject to the terms of the Modified
                   Agreement and this Order. At Closing, the Purchaser shall remit to the Trustee the
                   Purchase Price, less the amount of any deposit held by the Trustee.


4
  The change in guidance from HHS also allowed St. Alexius Hospital Corporation #1 to seek forgiveness from the
federal government for the PPP loan it received earlier this year under the CARES Act. The modified asset purchase
agreement added a provision requiring SA Acquisition to pay St. Alexius Hospital Corporation #1 an additional $2.7
million in cash within 90 days of the Trustee providing notice of U.S. Bank’s or the SBA’s denial of the Trustee’s
request to forgive the PPP loan.

                                                        7
4829-4793-6212.2
Case 19-61608-grs          Doc 947     Filed 12/15/20 Entered 12/15/20 16:24:37             Desc Main
                                      Document      Page 8 of 18



November 11 Sale Order, ¶ 47.

         24.       The APA provides that closing will occur within five business days after entry of

the November 11 Sale Order (that is, by November 18, 2020):

                   The consummation of the Sale (the “Closing”) shall take place in escrow at the
                   offices of the Title Company within five (5) business days following the entry of
                   an order of the Bankruptcy Court approving the Sale or such later date as the parties
                   may mutually agree in writing (the “Closing Date”)…

APA, § 1.3.

         25.       Since entry of the Sale Order, SA Acquisition has refused to close the transaction

for multiple reasons.

         26.       Approximately ten (10) days after the November 11 Sale Order was entered, it was

clear that—despite the lack of a financing contingency in the APA—SA Acquisition could not

close without financing and its proposed financing source needed additional time to evaluate the

transaction and the terms and conditions under which it would extend credit to SA Acquisition. In

an effort to work with the buyer and based upon the buyer’s representations that it would close

with or without financing, the Trustee agreed to extend closing.

         27.       Thereafter, SA Acquisition asserted that it would not close because it “discovered”

there was potential liability related to the State of Missouri Disproportionate Share Hospital

Liability (“DSH Liability”) and was concerned the November 11 Sale Order would not cut off this

liability. However, documents disclosing this potential liability were in the Trustee’s data room

accessed by SA Acquisition, including copies of documents from the administrative proceeding

and the Debtors’ balance sheet, which included a liability on account of potential DSH Liability.

At no time did SA Acquisition or its agents request additional information related to the DSH

Liability.




                                                     8
4829-4793-6212.2
Case 19-61608-grs            Doc 947     Filed 12/15/20 Entered 12/15/20 16:24:37       Desc Main
                                        Document      Page 9 of 18



           28.     Beyond that, on November 25, 2020 the State of Missouri confirmed that the

language in the November 11 Sale Order did in fact cut off the buyer’s liability for DSH

recoupment. See November 25, 2020 email from State of Missouri’s counsel to Debtors’ counsel,

attached as Exhibit C. Still, SA Acquisition’s lender demanded additional clarification. On

December 4, 2020, the State of Missouri agreed to language providing the requested clarification.

See December 4, 2020 email from State of Missouri’s counsel to Debtors’ counsel, attached as

Exhibit D. As it stands, while SA Acquisition has agreed to the clarification language, SA

Acquisition has not approved the Trustee’s filing of a motion to clarify the November 11 Sale

Order because it continues to assert the indemnity issues allow it not to close.

           29.     Additionally, SA Acquisition asserted that a notification issued on August 21,

2020, 5 by the Centers for Medicare and Medicaid Services (“CMS”) allowed it not to close because

it feared the update could create liability for SA Acquisition. The Trustee and SA Acquisition

were able to consensually resolve this issue.

           30.     Ultimately, the Trustee and her counsel worked tirelessly with the buyer and its

counsel to resolve these issues, and ultimately both were resolved consensually, which paved the

way for a scheduled closing of the transaction on December 11, 2020.

           31.     Recently, on December 11, 2020, SA Acquisition refused to close on the

transaction, asserting that a change in guidance from HHS on how expenses are calculated with

respect to expenditures of CARES Act funds allows them not the close because it could increase

SA Acquisition’s liability to the St. Alexius Bankruptcy Estates under the indemnity provision SA

Acquisition agreed to in Section 5.10 of the APA.




5
    Publication 100-20, Transmittal 10315, Change Request 11642.

                                                        9
4829-4793-6212.2
Case 19-61608-grs          Doc 947     Filed 12/15/20 Entered 12/15/20 16:24:37              Desc Main
                                      Document     Page 10 of 18



         32.       Unfortunately, it has become clear to the Trustee that SA Acquisition is not

committed to closing on the Court-approved sale, and is instead attempting to use its leverage to

renegotiate a better and more advantageous deal for itself at the expense of the St. Alexius

Bankruptcy Estates and their creditors.

                                            Relief Requested

         33.       By this Motion, the Trustee respectfully requests that the Court enter an order:

                   (i)     finding that the buyer, SA Hospital Acquisition Group LLC, by and or
                           through its subsidiaries, has materially breached the Court-approved
                           Modified Asset Purchase Agreement dated October 29, 2020 by failing to
                           close as required by Section 1.3 of the APA;

                   (ii)    forfeiting SA Acquisition’s deposit to the Trustee pursuant to Section 11.1
                           of the APA;

                   (iii)   requiring SA Acquisition to specifically perform by closing on the
                           transaction within seven days after entry of an order granting this Motion;

                   (iv)    awarding the Trustee damages against SA Acquisition and all guarantors
                           under the APA; and

                   (v)     granting all other relief that is appropriate under the circumstances.

                                       Basis for Relief Requested

    A. This Court has jurisdiction and is the proper venue for this dispute.

         34.       It is beyond dispute that the Sale Order constitutes a valid and enforceable order of

the Court, and that the Court issued the Sale Order within the scope of its authority and jurisdiction.

Under 28 U.S.C. §§ 1334 and 157(b)(2)(N), bankruptcy courts have core subject-matter

jurisdiction to approve the sale of estate assets. It is also well-settled that bankruptcy courts have

the “corollary jurisdiction to interpret and enforce their own [sale] orders…” Campbell v. Motors

Liquidation Co. (In re Motors Liquidation Co.), 428 B.R. 43, 56-58 (S.D.N.Y. 2010); See also

Travelers Indemn. Co. v. Bailey, 557 U.S. 137, 151 (2009). As such, the provisions contained in



                                                     10
4829-4793-6212.2
Case 19-61608-grs          Doc 947    Filed 12/15/20 Entered 12/15/20 16:24:37            Desc Main
                                     Document     Page 11 of 18



the Sale Order are binding on SA Acquisition, which subjected itself to the Court’s jurisdiction,

collaborated on the terms of the proposed sale order, and received notice of the sale proceedings

and November 11 Sale Order. Additionally, the November 11 Sale Order itself confirms that it is

binding on the buyer. See November 11 Sale Order, ¶ 44 (“This Order shall be binding in all

respects upon…(f) the Purchaser and all successors and assigns of the Purchaser…); ¶ 73 (“This

Order and the Modified Agreement shall be binding in all respects…upon the Purchaser…).

         35.       Similarly, it is clear this Court is the appropriate venue to determine disputes

related to the sale. In the APA, the parties irrevocably elected that this Court would be the “sole

forum for the adjudication of any matters arising under or relating to this Agreement.” APA, §

13.3. The parties also “consent[ed] to the jurisdiction of the Bankruptcy Court,” expressly waived

their right to challenge this Court’s jurisdiction, and agreed to consent to this Court entering any

final order, judgment, or decree necessary to resolve a dispute relating to the sale or the APA. Id.

Additionally, in the Sale Order the Court expressly retained jurisdiction to interpret, implement,

and enforce the terms of the Sale Order and APA. November 11 Sale Order, ¶ 81.

    B. SA Acquisition breached the APA.

         36.       SA Acquisition is in clear breach of the APA. Section 1.3 of the November 11 Sale

Order provides that closing must occur within five business days after entry of the Sale Order (that

is, by November 18, 2020). Each of the Purchaser’s Condition Precedent identified in Article 8 of

the APA have been satisfied. Specifically, (i) the Trustee is able to satisfy all “Seller Deliverables

at Closing” as set forth under Section 1.4, (ii) the Trustee’s representations and warranties under

Article II remain accurate, (iii) the Trustee has complied with all applicable covenants set forth in

Article IV, such as providing the buyer with access to the Debtors’ records and facilitates, and (iv)




                                                  11
4829-4793-6212.2
Case 19-61608-grs          Doc 947    Filed 12/15/20 Entered 12/15/20 16:24:37            Desc Main
                                     Document     Page 12 of 18



the Court approved the terms and conditions of the APA in the Sale Order, thus satisfying Article

6.

         37.       During the closing process, SA Acquisition has identified multiple alleged

“barriers” or “issues” to closing that they claim must be resolved before they will close. Despite

disagreeing with SA Acquisition’s imposition of non-existent closing conditions, the Trustee has

worked tirelessly with SA Acquisition and resolved substantially all of their issues.

         38.       Recently, however, SA Acquisition refused to close on the basis that a change in

guidance from HHS on how expenses are calculated with respect to expenditures of CARES Act

funds allows them not the close because it could increase SA Acquisition’s liability to the St.

Alexius Bankruptcy Estates under the indemnity provision in Section 5.10 of the APA.

         39.       SA Acquisition is wrong – the constantly evolving guidance from HHS does not

provide a basis for SA Acquisition to continue refusing to close on the Court-approved sale.

         40.       Section 4.10 of the APA provides that the parties will spend the $10 million -12.5

million in PRF funds on expenses related to the coronavirus, with each such expenditure requiring

mutual agreement of the Trustee and SA Acquisition:

                   …Seller agrees that prior to Closing Seller and/or Debtors will spend all of the
                   Unallocated Provider Relief Funds for “healthcare related expense attributable to
                   coronavirus” for Hospital (as permitted by the CARES Act), which each such
                   expenditure requiring mutual agreement of Seller and Purchaser.

APA, § 4.10. Related to those agreed expenditures, Section 5.10 provides that if the Trustee or St.

Alexius Debtors are required to repay any of the agreed-upon expenditures because they do not

ultimately meet the definition of a “healthcare related expense attributable to coronavirus,” then

SA Acquisition will indemnify the St. Alexius Bankruptcy Estates for those amounts.

                   In the event Seller or Debtors are required to refund or repay to the federal
                   government all or part of the Unallocated Provider Relief Funds expended by Seller
                   or Debtors under Section 4.10 of this Agreement from October 1, 2020 through the


                                                   12
4829-4793-6212.2
Case 19-61608-grs          Doc 947    Filed 12/15/20 Entered 12/15/20 16:24:37             Desc Main
                                     Document     Page 13 of 18



                   Closing Date because such expenditure did not qualify as a “healthcare related
                   expense attributable to coronavirus” under the CARES Act, Purchaser shall pay to
                   Seller or Debtors the amount required to be so refunded or repaid within ninety (90)
                   days after Seller or Debtor notify Purchaser in writing that such refund or
                   repayment is being required by the federal government, the amount of such refund
                   or repayment and all information received from the federal government explaining
                   why such expenditure does not qualify as a “healthcare related expense attributable
                   to coronavirus” under the CARES Act.

APA, § 5.10. Taken together, the APA establishes a straightforward process: instead of the Trustee

returning the unused PRF funds, the Trustee and SA Acquisition would agree on how the funds

would be spent, and if the expenditures fail to qualify as forgivable expenses under the CARES

Act, SA Acquisition will indemnify the St. Alexius Bankruptcy Estates for that amount.

         41.       The Trustee and SA Acquisition followed that process. Both parties agreed on the

expenditures of the St. Alexius Bankruptcy Estates’ unused PRF funds, with SA Acquisition

directing the bulk of the expenditures.

         42.       However, SA Acquisition is now concerned that some its approved uses of the PRF

funds may not later qualify for forgiveness, which would trigger SA Acquisition’s obligation to

indemnify the St. Alexius Bankruptcy Estates under Section 5.10.

         43.       The Trustee cannot and never could guarantee whether an expenditure will qualify

as a healthcare expense attributable to coronavirus, which was the entire purpose of allowing SA

Acquisition to approve all such expenses and including the indemnification provision. The Trustee

was willing to expend the unused PRF funds in a way that was beneficial to SA Acquisition, but

the Trustee could not guarantee such expenses would ultimately be forgiven, and if they were not,

SA Acquisition would indemnify the St. Alexius Bankruptcy Estates for the unforgiven amounts.

         44.       HHS’s guidance on what will qualify for forgiveness under the CARES Act / PRF

is constantly evolving, with new or modified guidance posted every few weeks. Both parties

understood this and entered into the modified APA so SA Acquisition could access the $10-12.5


                                                    13
4829-4793-6212.2
Case 19-61608-grs          Doc 947    Filed 12/15/20 Entered 12/15/20 16:24:37                Desc Main
                                     Document     Page 14 of 18



million of unused PRF the Trustee was considering returning to the federal government, while at

the same time protecting the St. Alexius Bankruptcy Estates if the buyer-approved expenditures

were ultimately found not to be eligible for forgiveness.

         45.       SA Acquisition is evidently concerned that its indemnification may be triggered in

the coming years, but that does not provide a basis to avoid a clear and unambiguous contract

provision. When interpreting contracts, the court’s goal is to “ascertain the intention of the parties

and to give effect of that intention.” Vest v. Kan. City Homes, L.L.C., 288 S.W. 3d 304, 310 (Mo.

Ct. App. W.D. 2009) 6 (internal citations and quotation marks omitted). The parties’ intent “is

determined based on the contract alone unless the contract is ambiguous.” Id. at 310. If the parties’

contract is unambiguous, “the intent of the parties is to be discerned from the contract alone based

on the plain and ordinary meaning of the language used.” Whelan Sec. Co. v. Kennebrew, 379

S.W.3d 835, 846 (Mo. 2012) (internal citations and quotation marks omitted).

         46.       In this case, the APA is clear: the parties would agree on how to spend the unused

PRF funds and if those expenditures ultimately did not qualify for forgiveness, the buyer would

indemnify the St. Alexius Bankruptcy Estates for those amounts. The Court should enforce the

APA’s plain meaning.

         47.       To the extent the APA is ambiguous, it is clear the intent of the parties was for SA

Acquisition to indemnify the St. Alexius Bankruptcy Estates for any expenditures that did not

qualify for forgiveness.

         48.       The Motion to Approve the Modified Asset Purchase Agreement that contained the

indemnity provision was approved by SA Acquisition and supported at the hearing by SA

Acquisition. Paragraph 24 of the motion stated “[s]ince the reporting of the PRF expenditures does


6
  The parties expressly agreed in the APA that Missouri law would govern the construction, performance, and
enforcement of the APA. (APA § 13.3).

                                                    14
4829-4793-6212.2
Case 19-61608-grs          Doc 947    Filed 12/15/20 Entered 12/15/20 16:24:37               Desc Main
                                     Document     Page 15 of 18



not occur until after anticipated sale date of the Hospital, the Modified APA requires SA Hospital

Acquisition to indemnify the St. Alexius Debtors for any claim asserted by HHS that any of the

expenditures do not qualify under the CARES Act as appropriate use of the PRF payments.”

Indemnity was an absolute requirement to the Trustee’s agreement to spend the PRF funds for the

benefit of the hospital, which would only benefit SA Acquisition. The Trustee was not willing to

put the St. Alexius Bankruptcy Estates at risk because the criteria set forth by HHS is ever changing

and evolving.

         49.       This intent is also evidenced by two emails sent by Ben Klein to the Trustee. On

October 21, 2020, Mr. Klein wrote to the Trustee “we are also taking the indemnity risk that if

the Cares act reporting… ends up with an item being denied and money is owed back, we are

paying it. We are driving the process on the list so we are responsible…Just confirming in

writing.” (emphasis added). A copy of Mr. Klein’s October 21, 2020, email is attached as Exhibit

A.

         50.       Mr. Klein believed the Trustee was being too conservative in her expenditures and

on October 22, 2020, sent an email that states, “…we probably beat the details enough and

everyone knows the different ways to look at whether something is a covid expense or is not, but

now we just need to document as much as possible on the different items, and most importantly,

have the lawyers get the indemnification language done so you are comfortable with the indemnity

so you don’t have to worry about this.” A copy of Mr. Klein’s October 22, 2020, email is attached

as Exhibit E.

         51.       It is clear that SA Acquisition’s attempt to assert it is not responsible to indemnify

the St. Alexius Bankruptcy Estates for changes in CARES Act reporting is just another ploy to

delay the closing and renegotiate the transaction on more favorable terms.



                                                    15
4829-4793-6212.2
Case 19-61608-grs          Doc 947    Filed 12/15/20 Entered 12/15/20 16:24:37               Desc Main
                                     Document     Page 16 of 18



    C. The Court should compel specific performance and award damages to the St. Alexius
       Bankruptcy Estates.

         52.        APA Section 11.1 provides that upon the buyer’s material default, the deposit is

forfeited and the Trustee is entitled to sue for damages or specific performance, and in either

instance, may recover fees, costs, and expenses incurred because of buyer’s default:

                   11.1 Purchaser Default. If Purchaser commits any material default under this
                   Agreement prior to Closing, (a) Purchaser shall be deemed to forfeit the Deposit
                   and (b) Seller shall be entitled to sue for damages or specific performance of the
                   terms of this Agreement and recover any and all fees, costs, and expenses,
                   including, without limitation, any attorneys’ fees and costs, incurred by Seller as a
                   result of Purchaser’s default. The foregoing remedies are in addition to the right to
                   terminate this Agreement under Section 9.1. The termination of this Agreement
                   pursuant to Section 9.1 shall not abrogate or limit the rights of Seller to retain the
                   Deposit and sue for damages as provided in this Article XI.

APA, § 11.1.

         53.       In this case, the Court should award the St. Alexius Bankruptcy Estates specific

performance and damages resulting from SA Acquisition’s breach. It is well established under

applicable Missouri law that a breach of contract may give rise to two remedies. Magruder v.

Pauley, 411 S.W. 3d 323, 331 (Mo. Ct. App. W.D. 2013). “One is an action at law for damages

for the breach; the other is a suit at equity for the specific performance of the contract.” Id. (internal

citations and quotation marks omitted). In other words, “there is no prohibition against a court of

equity decreeing both specific performance and awarding damages.” Metropolitan St. Louis Sewer

Dist. v. Zykan, 495 S.W.2d 643, 657 (Mo. 1973); see e.g. Medical Plaza One, LLC v. Davis, 552

S.W.3d 143, 162 (Mo. Ct. App. W.D. 2018) (affirming award of specific performance and

damages against party that failed to timely close under settlement agreement).

         54.       A plaintiff is entitled to specific performance as a matter of right if there is no

adequate remedy at law and the contract is fair and plain. Laclede Gas Co. v. Amoco Oil Co., 522

F.2d 33, 38 (8th Cir. 1975) (citing Miller v. Coffeen, 180 S.W.2d 100, 102 (Mo. 1955)). And while


                                                    16
4829-4793-6212.2
Case 19-61608-grs          Doc 947    Filed 12/15/20 Entered 12/15/20 16:24:37             Desc Main
                                     Document     Page 17 of 18



“specific performance relating to the sale of personal property is less common than for real estate,

specific performance is appropriate when the goods are unique or difficult to obtain elsewhere.”

Havens Steel Co. v. Commerce Bank, N.A. (In re Havens Steel Co.), 317 B.R. 75, 87 (Bankr. W.D.

Mo. 2004) (finding that debtor was entitled to specific performance of contract to buy steel that

was custom-ordered or fabricated where contract “was fair and plain”).

         55.       In this case, an award of specific performance is appropriate. As an initial matter,

the APA involves the sale of real property, which is unique by its very nature, making a money

damages judgment alone insufficient. The related personal property is directly related to hospital

operations, inventoried at appropriate amounts for the hospital uses, and would be difficult replace.

Specific performance will simply require the buyer to do what it already promised and is required

to do: that is, close on the purchase of the St. Alexius Bankruptcy Estates’ assets at the agreed

purchase price. Damages are also appropriate here because the St. Alexius Bankruptcy Estates

have been harmed on a daily basis by the buyer’s continuing breach of the APA and have been

forced to incur attorneys’ fees and costs. As such, the award of damages is distinct from an order

requiring specific performance of the closing. See e.g. Medical Plaza One, 552 S.W. 3d at 163

(finding that court can award damages in addition to specific performance if the damages would

be distinct and not a double recovery). The Court has the power and authority to “effectuate full

and complete justice” between the parties, and damages are necessary here to adequately protect

the St. Alexius Bankruptcy Estates from the buyer’s breach. See e.g. Magruder, 411 S.W. at 332.

                                                 Notice

         56.       The Trustee seeks to have this Motion heard on an emergency basis. Please take

notice that the Trustee is requesting an emergency hearing on this Motion for Thursday,

December 17, 2020, at 9:00 a.m. (ET) or as soon thereafter as the Court’s schedule permits.



                                                    17
4829-4793-6212.2
Case 19-61608-grs          Doc 947     Filed 12/15/20 Entered 12/15/20 16:24:37              Desc Main
                                      Document     Page 18 of 18



         WHEREFORE, the Trustee respectfully request this Court enter an order, substantially in

the form attached hereto as Exhibit F:

                   (i)     finding that the buyer, SA Hospital Acquisition Group LLC, by and or
                           through its subsidiaries, has materially breached the Modified Asset
                           Purchase Agreement dated October 29, 2020;

                   (ii)    forfeiting SA Hospital Acquisition, LLC’s deposit to the Trustee pursuant
                           to Section 11.1 of the APA;

                   (iii)   requiring SA Hospital Acquisition to specifically perform by closing on the
                           transaction within seven days after entry of an order granting this Motion;

                   (iv)    awarding the Trustee damages against SA Hospital Acquisition and all
                           guarantors under the APA; and

                   (v)     granting all other relief that is appropriate under the circumstances.

         Respectfully submitted this 15th day of December 2020.


                                                          s/ Elizabeth A. Green
                                                          ELIZABETH A. GREEN (admitted pro hac vice)
                                                          Florida Bar No. 600547
                                                          BAKER & HOSTETLER LLP
                                                          200 South Orange Avenue, Suite 2300
                                                          Orlando, Florida 32801
                                                          Telephone 407-649-4000
                                                          Facsimile 407-841-0168
                                                          egreen@bakerlaw.com
                                                          Counsel to Chapter 11 Trustee

                                     CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on December 15, 2020, I electronically filed the foregoing with

the Clerk of Court by using the Court’s CM/ECF system, which will provide a Notice of Electronic

Filing and copy to all parties requesting such notice, and served the foregoing motion with all

attachments via email to counsel to SA Acquisition.

                                                          s/ Elizabeth A. Green
                                                          ELIZABETH A. GREEN



                                                     18
4829-4793-6212.2
